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BETTY JONES,
Plaintiff,

vs. Civ. No. 04-3052»Ml[P

MEDEGEN MEDICAL PRODUCTS, LLC,

Defendant.

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ORDER GRANTING DEFENDANT’S MOTION TO COMPEL DISCOVERY
AND FOR SANCTIONS

 

Before the court is Defendant's Motion to Compel Discovery and
for Sanctions, filed.May 2, 2005 (Dkt #9). Local Rule 7.2(a)(2)
requires that

the response to the motion and its supporting

memorandum . . . shall be filed within fifteen
days after service of the motion and shall be
accompanied by a proposed order. Failure to

respond timely to any motion, other than one
requesting dismissal of a claim or action, may
be deemed good grounds for granting the
motion.

The time for filing a response to defendant’s motion to compel
discovery and for sanctions has passed. Therefore, the motion is
GRANTED.

IT IS THEREFORE ORDERED that within eleven (ll) days of the
date of this Order (1) Plaintiff will fully comply with and make

her initial disclosures to defendant pursuant to Rule 26(a) of the

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Federal Rules of Civil Procedure, including all documents, or a
description by category and location of all documents or data
compilations, that are known to and in the custody, possession, or
control of plaintiff which may be used to support plaintiff's
claims or defenses, unless solely for impeachment; (2) produce to
defendant all documents and tangible things requested in
Defendant’s First Request for Production of Documents and a written
response to Defendant’s First Request for Production of Documents
stating whether the requested items are in plaintiff's possession
or control; and {3) pay defendant’s reasonable expenses, including
attorneys’ fees, in making its motion.

Defendant is ORDERED to submit an affidavit detailing the fees
and expenses incurred in pursuing this motion within fourteen (14)
days of the entry of this order. Plaintiff is to submit any
objection to defendants’ fees and expenses within ten {10) days of
defendant's submission. If plaintiff does not object to
defendant’s fees and expenses within the time allowed, then the
court orders that plaintiff pay the fees and expenses detailed in
the affidavit within forty (40) days of the submission of the
affidavit by defendant. If the plaintiff timely‘ objects to
defendant's fees and expenses, then the court will review the
affidavit and objection(s) and rule on the amount of fees and
expenses to be paid by the plaintiff.

I'I` IS SO ORDERED.

 

TU M. PHAM
United States Magistrate Judge

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Date

       

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This notice confirms a copy of the document docketed as number 10 in
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Cary SchWimmer

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Honorable J on McCalla
US DISTRICT COURT

